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                                                                                              3/30/20
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA                              ,%PUTPO
                                Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUÑIZ,
  MARCUS MARTIN, NATALIE ROMERO,
  CHELSEA ALVARADO, JOHN DOE, and
  THOMAS BAKER,

                               Plaintiffs,             Civil Action No. 3:17-cv-00072-NKM

  v.
  JASON KESSLER, et al.,

                               Defendants.


                            ORDER SEALING EXHIBITS TO
                     PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
                          FROM DEFENDANT JEFF SCHOEP

         WHEREAS, on March 27, 2020, Plaintiffs filed a Motion to Compel Discovery from

  Defendant Jeff Schoep (the “Motion”), ECF No. 689, and did not publicly file Exhibits A, B, and

  C to the Motion because they were designated as Highly Confidential by the producing parties or

  contain Highly Confidential Information as defined by the Order for the Production of Documents

  and Exchange of Confidential Information dated January 3, 2018, ECF No. 167,

         WHEREAS, Plaintiffs have provided unredacted copies of Exhibits A, B, and C and the

  Motion to the Court and moved, pursuant to Local Rule 9, for those exhibits to be sealed,

         IT IS HEREBY ORDERED that the motion to seal, ECF No. 690, is GRANTED, and the

  Clerk is directed to file Exhibits A, B, and C to the Motion, ECF No. 689, under sealed pursuant

  to Local Rule 9.
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  Dated: March 30, 2020

  SO ORDERED.




                                          Hon. Joel C. Hoppe, M.J.
